                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



  AMERICAN ASSOCIATION OF
  UNIVERSITY PROFESSORS, ET AL.,

                           Plaintiff,
                                                         Civil Action No. 1:25-cv-10685-WGY
                -v-
                                                         Declaration of John Armstrong
MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT OF
STATE, ET AL.,

                           Defendant.


                         DECLARATION OF JOHN ARMSTRONG
                      ASSERTING LAW ENFORCEMENT PRIVILEGE

I, John Armstrong, hereby declare under penalty of perjury:

   1. I am the Senior Bureau Official within the U.S. Department of State’s Bureau of Consular

       Affairs. I am a career member of the Senior Foreign Service with the rank of Counselor.

       Prior to becoming the Senior Bureau Official, I briefly served as the Deputy Assistant

       Secretary for Overseas Citizen Services. I served overseas as the Consul General in Lima,

       Peru; as Economic Counselor in Warsaw, Poland; as Consular Section Chief and Acting

       Deputy Chief of Mission in Nassau, Bahamas; Deputy Consul General in Kyiv, Ukraine,

       and Nonimmigrant Visa Chief in Bucharest, Romania. I have also previously served

       domestic assignments in Washington, D.C., as Director of the Office of Eastern European

       Affairs, Director of the Washington Passport Agency, Senior Political Officer on the

       Russian Desk, and Belarus Desk Officer.

   2. As the Senior Bureau Official, I routinely engaged with matters directly involving United

       States and foreign law enforcement. In this role, I oversee issues related to the arrest,
    detention, or welfare of United States citizens abroad. This often requires coordination with

    agencies such as the Federal Bureau of Investigation, Department of Homeland Security,

    and foreign police authorities. I also work closely with interagency partners on efforts to

    detect and prevent passport and visa fraud. These investigations often require sensitive

    investigative information.

3. This declaration is based on my personal knowledge and vast professional experience. In

    my official capacity as Senior Bureau Officer, I have exercised oversight on matters

    involving United States citizen services abroad. These matters include law enforcement

    coordination.

4. I am aware of the instant lawsuit that has been filed in the U.S. District Court for the District

    of Massachusetts. I understand that Marco Rubio in his official capacity as Secretary of

    State, in addition to the Department of State are named defendants.

5. I submit this declaration to explain the assertion of the law enforcement privilege (LEP)

    with respect to highly sensitive information that Plaintiffs seek the court to compel be

    publicly released.

6. The authority to assert the law enforcement privilege in these proceedings for the

    Department of State has been delegated to me in Department Delegation of Authority No.

    577, as published in the Federal Register, and a Delegation of Authority approved on June

    27, 2025, and pending publication in the Federal Register.

7. Based upon my personal review and knowledge of the information solicited by Plaintiffs,

    I am formally asserting LEP over the documents and information identified below, which

    the government withheld as privileged:




                                               2
      Material Subject to the LEP:

               i. Department of State Guidance to the field (posts worldwide involved in

                  providing visa services) in the form of cables, memoranda, and webinar

                  presentations relating to implementation of Executive Orders No. 14161

                  and No. 14188, social media vetting, security in visa adjudications, visa

                  ineligibilities, visa applicant qualifications, including for students and

                  exchange visitors, and visa revocations

              ii. Portions of the deposition of Senior Bureau Official John Armstrong related

                  to Department of State decisions involving the Five Targeted Noncitizens,

                  based upon the rough transcript of that deposition that is currently available

                  (Defendants have not yet had an opportunity to identify/request any

                  necessary corrections to the transcript)

             iii. Nonpublic versions of the Foreign Affairs Manual/Foreign Affairs

                  Handbook dealing with visa ineligibilities, visa applicant qualifications,

                  including for students and exchange visitors, and visa revocations

             iv. Interrogatory responses related to the above

8. The Department of State, particularly the Bureau of Consular Affairs, performs security

   vetting, in collaboration with interagency law enforcement and other partners, of millions

   of U.S. visa applicants and visa holders annually. That security vetting involves law

   enforcement, intelligence, and national security resources and equities.

9. The documents and information withheld contain law enforcement and national security

   terminology, techniques, processes, procedures, and other information compiled for law

   enforcement and intelligence purposes, including fraud prevention. Disclosure of this




                                            3
   information would reveal highly sensitive screening and vetting techniques that are used

   by law enforcement and intelligence partners and could allow visa applicants to avoid fraud

   detection or national security review and reasonably be expected to risk circumvention of

   the immigration, criminal, and/or anti-terrorism laws.

10. The release of the information that Plaintiffs seek would reveal sensitive information

   subject to LEP. This includes information related to how potential visa ineligibilities are

   assessed throughout the visa application process and throughout the period of the visa’s

   validity. The revelation of such information could undermine Department of State and U.S.

   Government to uphold U.S. immigration laws and identify national security and public

   safety threats.

11. Visa security vetting techniques, methods, and procedures are not widely known to the

   public because the release of such LEP information would compromise the U.S.

   Government’s ability to continue properly vetting visa applicants and visa holders.

   Disclosure of law enforcement privileged information could provide those who wish to

   harm the United States with valuable information about how the U.S. Government detects,

   investigates, and thwarts activity that impacts public safety and national security and

   violates U.S. laws. Disclosure of any such existing information related to investigative

   processes, coordination with law enforcement partners, or insight into the types of

   information contained in law enforcement checks could significantly undermine future law

   enforcement efforts.

12. As described in this declaration, disclosing information that could ultimately provide bad

   actors with the information they need to evade, or otherwise thwart, U.S. law enforcement

   and national security efforts has potentially grave consequences for national security and




                                            4
